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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                        3:06cv543-LAC/MD

WARD DEAN
                                 /

                  NOTICE OF COMPLIANCE WITH COURT ORDER

      COMES NOW the Plaintiff, United States of America, through the below named

attorney, and hereby files notice that on August 17, 2007, it sent to defendant via

Federal Express answers to defendant’s interrogatories and responses with documents

requested in defendant’s request for production.

                                     Certificate of Service

      On August 17, 2007, a copy of this Notice was mailed to Ward Dean, 06076-017,

pro se, Federal Prison Camp, 110 Raby Avenue, Pensacola, Florida 32509-5127.


                                                   Respectfully Submitted,

                                                   Gregory R. Miller
                                                   United States Attorney

                                                   s/ Paul Alan Sprowls

                                                   Assistant United States Attorney
                                                   Florida Bar 232688
                                                   United States Courthouse
                                                   111 North Adams Street, 4th Floor
                                                   Tallahassee, Florida 32301
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